Case 1:99-cV-01289-.]DB-tmp Document 89 Filed 07/08/05 Page 1 of 3 Page|D 95

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UNITED STATES DISTRICT COURT Uf` ; /H d
WESTERN DISTRICT 0F TENNESSEE `1‘3` 111 11 15

EASTERN DIVISION

  

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JOHNSON GREYBUFFALO, JUDGMENT IN A CIVIL CASE

Plaintiff,
V.

CORRECTIONS CORPORATION CASE No: 1199-1239-13
oF AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed with prejudice.

PROVED:

 

J. ANIEL BREEN\
TED STATES DISTRICT COURT

(, Lo 05 moMAs M. oouLo
Clerk of Court

C:J;{Q.ZF

(By) Deputy Clerk

   
 
 

This document entered on the docket sheet in lcornpiiance

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Honorable .1. Breen
US DISTRICT COURT

